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                                1:23-mj-02256-Reid


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                                                            Feb 10, 2023

                                                                       MIA
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AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Southern District of Florida

                  United States of America                          )
                             V.                                     )
                                                                    )      Case No.      1:23-mj-02256-Reid
              ARCANGEL PRETEL ORTIZ,                                )
               ANTONIO INTRIAGO, and                                )
                WALTER VEINTEMILLA,                                 )
                           Defendant(s)


         CRIMINAL COMPLAINT BY TELEPHONE OR O THER RELIABLE ELECTRONIC MEANS

           I, the complainant in this case, state that the following is true to the best ofmy knowledge and belief.
                                                                                                         - .:. a'-': de-' ___ in the
On or about the date(s) of March 1, 2021 through July 7, 2021 in the county of ---"'"M-'-'iac;_m'""i....:D
     Southern          District of              Florida         , the defendant(s) violated:

            Code Section                                                     Offense Description
 18 U.S.C. § 2339A                                Conspiring to Provide and Providing Material Support and Resources
                                                  Resulting in Death

 18 U.S.C. § 956(a)(1)                            Conspiracy to Kill or Kidnap a Person Outside the United St ates




          This criminal complaint is based on these facts:

SEE ATTACHED AFFIDAVIT.




          � Continued on the attached sheet.



                                                                                               Complainant's signalllre



                                                                                                Printed name and title


 Attested to by the Applicant in accordance with the requirements of Fed.R.Crim.P. 4.1 by               FaceTime

Date:             02/1 0/2023
                                                                                                  Judge ·s signature

City and state:                           Mi ami Florida
                                                                                                Printed name and title
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